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             Exhibit E
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                         I N T H E U N I T E D S TAT E S D I S T R I C T C O U R T

                              FOR THE DISTRICT OF COLUMBIA


C A P TA I N D A N I E L K N I C K

                                 P l a i n t i ff                 Case No.j 22-cv-1267 BAH



LLOYD J. AUSTIN, III, in his
official capacity as Secretary of Defense;
FRANK KENDALL, UI, in his
official capacity as Secretary of the Air Force;
ROBERT I. MILLER, in his
official capacity as Surgeon General of the
Air Force, and
RUDOLF WILHELM KUEHNE, JR.
in his official capacity as Commander,
Air Force Flight Standards Agency

                                 Defendants


                  D E C L A R AT I O N O F P L A I N I T F F C A P TA I N D A N I E L K N I C K


        Pursuant to 28 U.S.C. § 1746,1, Captain Daniel Knick, an active-duty U.S. Air Force

Officer, under penalty of perjury declare as follows:

1.1 am over the age of eighteen and am competent to make this declaration.

2.1 have served my country in the United States Air Force for ten years.

3. The military has awarded me more than eight medals and four ribbons including among the

following: Two commendations, Air Force Achievement Medal, National Defense Service

Medal, Humanitarian Service Medal, Global War on Terrorism Service Medal, Korean Defense

Service Medal, and Nuclear Deterrence Operation Service Medal among others.

4.1 have served in a variety of positions including Tactical Air Control Party Officer, Flight

Commander, Chief of Combat Airspace Operations, and Staff Officer.




                                                     1
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5.1 have deployed/PCS'd (Permanent Change of Station) five times, including Fort Hood,

Seymour Johnson AFB, MacDill AFB, Osan AFB, and Oklahoma City during my ten years of

service.


6.1 was selected for promotion to Major.

7.1 have had my present job since March 2021.

8. When the military in 2020 began imposing COVlD-19 restrictions on personnel

including masking, social distancing, and working remotely. I followed these policies.

9. In my workplace at present, there were no mitigation protocols. Masks were worn out of a

personal choice.

10.1 have always supported the Defendants' interest in military readiness, unit cohesion, good

order, discipline, health, and safety.

11.1 have been unvaccinated from any illness, including the flu, since May 2020.

12. My unvaccinated status has not affected my job execution and fulfillment of my

responsibilities.

13. Throughout the pandemic, I was unvaccinated and never tested positive for COVID-19.

14.1 have never been tested for COVID-19 antibodies.


15. 1 am a Christian. As a Christian, 1 believe that my body is the vessel that houses the Holy

Spirit. (I Cor. 6:19-20) I am responsible to God to ensure that 1 honor with all I do with it.

16. Additionally, 1 believe that abortion is a grave evil and contrary to my faith.

17.1 believe that receiving a vaccine that was derived fi-om or tested on aborted fetal

tissue in its development would violate my conscience and is contrary to my faith.

18.1 understand that all of the COVID-19 vaccines currently available were derived

from or tested on (as part of their development) aborted fetal tissue. For this reason, I am




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unwilling to receive one of the COVID-19 vaccines currently available.

19.1 oppose the currently available COVID-19 vaccines because of their connection

to abortion.


20. Prior to making my request, I sought insight from the Lord through prayer. After prayerfully

seeking insight of the Lord, I did not feel peace about moving forward with taking any vaccine.

In accordance with my faith, I believe that my "body is the temple of the Holy Spirit" (1 Cor.

6:19-20), and that injection with a novel substance of unknown long-term effects

would violate this belief.


21. The Department of Defense and the Department of the Air Force has issued vaccine

mandates that require service members to be vaccinated for COVID-19, influenza, and other

viruses.


22. On June 1, 2020,1 submitted a request for a religious accommodation exempting me from

taking vaccines to my commanding officer. No action was taken, and I was permitted to remain

unvaccinated and work.


23.1 fulfilled all my duties honorably and was selected to major.

24. On August 31,2021,1 submitted a second request for a religious accommodation exempting

me fi-om taking vaccines, following the procedures in DAFI52-201 and AFI48-110.

25. Both my request for a religious accommodation denial and my appeal to the Air Force

Surgeon General were denied.

26.1 maintained my inability to get vaccinated due to sincerely held religious beliefs. As a result,

I am removed from the promotion list to major, facing discharge, prosecution under the Uniform

Code of Military Justice, and exposure to prison.

27.1 remain ready, willing, and able to practice mitigation protocols, including regular




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COVID-19 testing, wearing a mask, social distancing, working remotely where allowable, body

temperature checks, handwashing, and such other methods as directed.

28.1 understand that service members with approved medical accommodations are permitted to

work in person, indefinitely, with no forced early retirement or other adverse employment

consequences.

29.1 understand that to-date approximately 46 religious accommodations have been approved. 1

do not know what distinguishes those who have been granted religious accommodation form

those who have been denied accommodations.


30.1 know that the provisions of AFI48-110 that allow members within 180 days of separation

or retirement to be exempt from certain vaccinations DO NOT apply in this case.

31.1 know that service members on terminal leave (those who are no longer working on base and

are exhausting their vacation/leave prior to official retirement) will not be required to take the

vaccine; however, if recalled to active duty, the member will be required to take the vaccine.



       I declare under penalty of perjury that the foregoing is true and correct. Executed on

May 2,2022.

                                                              /s/           jCyUdo
                                                              C A P TA I N D A N I E L K N I C K




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